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                         IN THE U.S. DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

BLUDGEON RIFFOLA LTD.,
                                            Case No. 21-cv-02525
            Plaintiff,
                                            Judge Gary Feinerman
            v.
                                            Magistrate Judge Beth W. Jantz
ALI GEGE STORE, et al.,
            Defendants.


                          Declaration of Isaku M. Begert
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                            DECLARATION OF ISAKU M. BEGERT

         I, Isaku M. Begert, of the City of Chicago, in the State of Illinois, declare as follows:

1.       I am an attorney at law, duly admitted to practice before the Courts of the State of Illinois

         and the United States District Court for the Northern District of Illinois. I am one of the

         attorneys for Plaintiff Bludgeon Riffola Ltd. (“Plaintiff”). Except as otherwise expressly

         stated to the contrary, I have personal knowledge of the following facts and, if called as a

         witness, I could and would competently testify as follows:

2.       Defendant Womens Dresses -YIISU’s (“Defendant”) filings [78] and [88], attached hereto

         as Exhibit 1, share a number of common unique identifiers. For example, PDF metadata

         for each of these files identifies the author as “GA310” and that the files were created using

         Neevia PDF Stamp v4.0. The metadata for filings [78] and [88] are shown in Figures 1 and

         2 below, respectively. The filings have the same look and feel, including the use of the

         Calibri font and a center-aligned signature block that explicitly points out that Defendant

         is a pro se litigant. Despite purportedly being a pro se litigant, the documents refer to

         Defendant in the third person. The documents also read like they were drafted by a lawyer

         with legal training, including citations to specific U.S. statutes and unpublished cases.




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                       Figure 1 – Metadata for Docket No. 78




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                                Figure 2 – Metadata for Docket No. 88



3.       Plaintiff's investigation has identified documents filed on behalf of sixteen other “pro se”

         defendants in eleven cases that have these same unique identifiers. PDF metadata for each

         of the eleven other “pro se” filings show that they were also authored by “GA310” and

         created using Neevia PDF Stamp v4.0. Each of these filings has other similar features,

         including font, layout, center-aligned signature blocks, and referring to defendants in the

         third person. Some of the signature blocks also explicitly point out that the defendant is a




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            pro se litigant. Exhibit 2 attached hereto is a true and correct copy of the pro se filings and

            Exhibit 3 attached hereto is a true and correct copy of screenshots of the PDF metadata.

                NDIL Case No and
      No.                                                    Filing                        Defendant Name
                   Docket No.
                                         Opposition To Plaintiff's Motion For Default       Athli, Frroy and
       1          21-cv-05331 [60]
                                                          Judgment                            LierTOUR
                                          Response to Plaintiff's Motion For Default
       2          21-cv-05331 [62]                                                              chuyanxi
                                                  Judgment and Complaint
       3          21-cv-05339 [45]                Reply to plaintiff's response                 Di Long

       4          21-cv-05339 [55]           Motion To Modify Judgment Order                  HAOCHEN
                                           Opposition To Plaintiff's Motion For
       5          21-cv-06162 [38]                                                              JOLLGII
                                               Preliminary Injunction Order
                                          Opposition to plaintiff's motion to extend
       6          21-cv-05331 [28]                                                            Keeplus2021
                                                temporary restraining order
                                                                                           Lin Qinlan, Athli,
       7          21-cv-05331 [63]              Answer to plaintiff's complaint                Frroy and
                                                                                              LierTOUR
                                             Opposition To Plaintiff's Motion for
       8          22-cv-02450 [34]                                                              Luo Dan
                                               Preliminary Injunction Order
       9          21-cv-05331 [36]                     Motion for relief                    MANmanDanta

                                          RESPONSE TO PLAINTIFF’S MOTION
      10          22-cv-02705 [38]         FOR PRELIMINARY INJUNCTION                            drindf
                                                      ORDER
                                             Opposition To Plaintiff's Motion for           Kingspinner 715
      11          22-cv-01172 [36]
                                               Preliminary Injunction Order                      days


4.          Prior to filing the Motion to Vacate Judgment Order [78], Defendant contacted Plaintiff’s

            counsel using email address dekanhuan55819@163.com, but also included the email

            address cdzvrbxtg@yeah.net. The email address cdzvrbxtg@yeah.net was also used by

            defendant HAzhenha that appeared in NDIL Case No. 21-cv-05339. Figure 3 below is a




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       true and accurate copy of a screenshot of the email from Defendant, while Figure 4 below

       is a true and accurate copy of a screenshot of the email from defendant HAzhenha.




                                            Figure 3




                                            Figure 4

5. Defendant has also contacted Amazon multiple times seeking release of its account. Plaintiff’s

   attorneys have either been copied on or forwarded copies of these emails. In sending these

   emails, Defendant was knowledgeable enough to direct the email to Amazon’s outside counsel

   that processes such court orders, including one of the specific paralegals that handles such


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 requests. Figure 5 below is a true and accurate copy of screenshots of emails from Defendant

 to Amazon’s outside counsel, which were forwarded to Plaintiff’s counsel.




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                                            Figure 5


6. Other defendants listed in Table 1, all of which are directly connected to Defendant based on

   unique metadata, have sent similar emails directly to Amazon’s outside counsel. Plaintiff’s

   attorneys have either been copied on or forwarded copies of these emails. For example,

   Defendant 11 (Kingspinner 715 days) sent emails directly to Amazon’s outside counsel from

   email address ipcounsel@yeah.net (“ip” is a common abbreviation for intellectual property).

   The same ipcounsel@yeah.net email address similarly contacted Amazon’s outside counsel

   for twelve different defendants in NDIL Case No. 21-cv-05863. Figures 6 and 7 below are true

   and accurate copies of screenshots of these emails.




                                            Figure 6




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                                    Figure 7
                                       9
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7. The email address ipcounsel@yeah.net was also copied on an email to Plaintiff’s counsel for

   Defendant Viccki in NDIL Case No. 21-cv-01986. Figure 8 below is a true and accurate copy

   of a screenshot of this email. Defendant Viccki filed a “pro se” Motion to Dismiss that has the

   same unique similarities as the filings for Defendant and defendants in Table 1 except that the

   metadata author field was left blank. Attached here to as Exhibit 4 is a true and correct copy

   of that Motion.




                                            Figure 8

8. Exhibit 5 is a true and accurate copy of unpublished decisions cited in the corresponding

   Motion for Sanctions Against Defendant Womens Dresses -YIISU for Committing Fraud on

   the Court.

   I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on this the 22nd day of June 2022 at Chicago, Illinois.


                                            /s/ Isaku M. Begert
                                            Isaku M. Begert
                                            Counsel for Plaintiff Bludgeon Riffola Ltd.

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